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Case 1:18-cv-24996-KMM Document 29-1 Entered on FLSD Docket 11/19/2019 Page

 

ATTORNEY'S Rint. GRiviiviion

 

 

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obresent Abdul Pieirelus, (heréinafter tefenéd 46 as “Clisht”) in cotinedtion With United

L PA, (hereinitter retested to as “Attorney”), agiees to

». States ». Abdul Pieprelus, Case'No, 17Cr-20081-Moors, .

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(pursuant to 28 U.S.C. § 2255), This will.

 

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November of 2017, ‘The parties agree that if tiitiely payménts are not minde pursuant
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Client and undersigned Giiarantor ‘ ackioWledje that Attornéy incurs certain
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Client and undetsigned Guarantor shall be Fesponsible for all out of pocket
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Court costs and fees, a process sétver, Witness fees, couitt reporters, Videographets,

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shall be entitled t6 compensation from the Cliént and undersigned Guarantors at the rate

ot of $500.00 per hour fr such litigation,

Any fines oF court ‘costs assessed against the Client by the court are the sole
_ responsibility of the Client. - . ce a _

The Client shall proinptly advise the Attomey if he receives any written or oral

communication from the Court or anyone else concerning his case,

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* Case 1:18-cv-24996-KMM Document 29-1 Entered on FLSD Docket 11/19/2019 Page

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Lourdjine Jadotte wife of Abdul Pierrelus

 

NEY'S FEE

 

PAUL D. PETRUZZI, P.A. (hereinafter referred to. as “Altomey"} aprers to
represent Abdul Picvelus, (hereinafter referred to a5 “CHent") in connection with United
States ¥. Abyhd Plerrelus, Case Na. 17-Cy-2008 |-Moore,

i Cliewt and undersigned Guarantor epree 10 compensate Attorney PAUL D,

: PETRUZZI, B.A. the sum of $15,000.00, for representation in elthes 2 rotion for

i reduction based on his cooperation pursuant to Rute 35 of the Federal Rules of Crnainal

fe Procedure or 1 Motion to Vacate kia Conviction and Sentence pursuant to 28 USC. §

fe 2255. The parties agree that after counsel has a conversation with the Client, the Client

we must decide in writing his choice to either pursue a Rule 35 or a Motion to Vacate
(pursuant to 28 U.S.C. § 2255). This will sipplement the fee agreement. Cli¢nt,
undersigned Guarantor, and Counsel agreé that at the signing of this agrecment, a
paymont of $7,500,00 wilt be made. Thereafter, the parties agree that monthly payments
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The Ciient shall promptly advine the Attomey if he receives any written or arat
commuutication front the Court or anyone else canceming his case,

 

This document comtuins the entire agreement between the parties and may be
modified only in writing. This document supersedes any oral discussions or
representations with respect to the issues contained herein,

. This agreement shall be governed by the laws of the State of Florida, Venue shall
h be proper in Miami-Dade County, Florida for nny action hereunder,

IN WITNESS WHEREOF, the parties have hereunto set their hands and seals this
Pr 19th day of October, 2017.

PAUL D. PETRUZZI, PA.

E By: on

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* Case 1: 18-cv-24996-KMM

LAW OFFICES

- PAUL D. PETRUZZI, P.A.
THE BANK BUILDING
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MIAMI, FLORIDA 33138

 

TELEPHONE (305) 373 - 6773 -
TELE COPIER(305) 373 - 3832 ©

PAUL D, PETRUZZI, ESQ.
_ E-mails pet huzzi-law@msn.com

BEATRIZ D. VAZQUEZ, ESQ.

 

‘ October 1, 2018

Abdul Pierrelus
Register No. 09826-104

D. Ray James Correctional Institution
P.O. Box 2000 .
Folkston, GA 31537

 

 

 

 

 

 

VIA U.S. MAIL

Mr. Pierrelus,

 

 

 

_ | write regarding your case and my continued representation. | As you know,

. when you first retained me, it was decided | would assist you in obtaining a possible
sentence reduction due to your cooperation with the government. Also, las I’m sure you

will recall, our many repeated attempts in trying to get the government to rely on your

previous cooperation or engage in new cooperative efforts fell on deaf ears. At that

point, you asked me to consider the merits of filing a 28 U.S.C. § 2255 petition on your

behalf.

 

 

 

 

 

 

. Unfortunately, at that point, the one year period of limitations governing § 2255
petitions had expired .and . still -hadn’t even received your files. Nevertheless, |
explained that you may be able to proceed if we can show a good reason for waiting.
This is called “equitable tolling.” It is, under federal law in our circult a “extraordinary

remedy” that is only rarely applied,

Now that | have thoroughly reviewed your file and the discovery | ifinally received, .
| have to advise you of two things. First, | see no way that you can satisfy the standard
required for equitable toiling, There just simply is no extraordinary circumstance that
would permit us to ‘file now. ‘Second, even if we could meet the standard, there is no-
merit to any of the arguments you suggested and no additional-argumenis 1 can think of,
For example, the failure to file an appeal was not ineffective:as you we re, cooperating.
Second, the loss issues were agreed to and never presented as objections. Third, your
Sentence was not unreasonable given the guidelines;. | ef,

 

 
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Case 1:18-cv-24996-KMM Document 29-1 Entered on FLSD Docket 11/19/20F 9 Page 24 of 2

 

____ 80, the’bottom'tine at-this point is that thee is no basis (or ability} to file a legally
Sufficient § 2255 motion: Therefore, | suggest you do not alienate the government and
continue to focus our time and energy in your cooperation, ©) 8p

   

_ Please calll rhe at your earliest td | look forward t6 continuing
“ to’ work with you to obtain’ the sentence reduction that | ‘believe’ you lare ‘entitled to.

> ‘Please ‘caill rhe at your earliest td discuss doing so. _Plook forwatd te |
Sincerely,

~ Paul D. Petruzzi,

 
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169 E. Flagler Street

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Paul Petruzzi, Esq.
Miami, FL
